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                 Nos. 23-35322, 23-35323, 23-35324, 23-35354

               United States Court of Appeals for the Ninth Circuit
                                _____________
JENNIFER QUAN, in her official capacity as Regional Administrator of the
National Marine Fisheries Service; JANET COIT, in her official capacity as the
Assistant Administrator for Fisheries of the National Marine Fisheries Service;
NATIONAL MARINE FISHERIES SERVICE; GINA M. RAIMONDO, in her
official capacity as Secretary of the United States Department of Commerce;
UNITED STATES DEPARTMENT OF COMMERCE,
                               Appellants-Defendants,

THE STATE OF ALASKA,
                              Appellant-Intervenor,

THE ALASKA TROLLERS ASSOCIATION,
                     Appellant-Intervenor,

                                        v.

WILD FISH CONSERVANCY, a Washington non-profit corporation,
                         Cross-Appellant-Plaintiff,
                              _____________
   Appeal from U.S. District Court, Western District of Washington, Seattle
                        Honorable Richard A. Jones
                             No. C-20-417-RAJ
 OPENING BRIEF OF APPELLANT-INTERVENOR STATE OF ALASKA

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                       JURISIDICTIONAL STATEMENT

      The Wild Fish Conservancy sued the National Marine Fisheries Service,

alleging violations of the Endangered Species Act, the National Environmental

Policy Act, and the Administrative Procedure Act. 8-ER-1845–74. The State of

Alaska and the Alaska Trollers Association intervened. 4-ER-821–22; 8-ER-1803–

04. The district court had jurisdiction to review the Conservancy’s claims. 5 U.S.C.

§§ 701–706; 16 U.S.C. § 1540(g); 28 U.S.C. § 1331. It entered a final judgment.

1-ER-2–3 All four parties timely appealed. 8-ER-1899–1921. This Court has

jurisdiction to review the district court’s decision. 28 U.S.C. § 1291.

                                INTRODUCTION

      This case is about the proper remedy when a court finds flaws in an agency’s

environmental analysis. Here, the district court’s choice of remedy would

effectively halt a critical Alaskan fishery—irreparably harming Southeast Alaskan

communities—without providing a corresponding benefit to endangered species,

only to have the agency reissue the same decision the following year.

      In 2019, the National Marine Fisheries Service issued a Biological Opinion

about Southeast Alaska fisheries. The opinion addressed the continued delegation

of management of the Southeast Alaska salmon fishery to the State of Alaska,

federal funding to the State to manage the fishery under the terms of the Pacific

Salmon Treaty, and conservation programs for endangered Southern Resident


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killer whales and some threatened Chinook salmon. The conservation programs are

designed to offset impacts from numerous fisheries in Alaska and the Pacific

Northwest. One of the conservation measures, the “prey increase program,”

produces additional hatchery fish to release into the wild to boost the amount of

prey available for the endangered whales. In its Biological Opinion, the agency

concluded that Alaska’s fishery would not jeopardize the endangered whales and

salmon, and issued an Incidental Take Statement for any incidental “take” of those

species, for purposes of the Endangered Species Act.

      In 2020, the Wild Fish Conservancy sued the agency to enjoin the Southeast

Alaska fishery and the prey increase program. The district court found flaws in the

agency’s Biological Opinion and concluded that the agency should also have

performed further environmental analysis under the National Environmental Policy

Act. The court ordered briefing on the remedy. That is the focus of this appeal.

      In remanding to the agency for further analysis, the district court partly

vacated the Incidental Take Statement, which effectively enjoined the Southeast

Alaska Chinook salmon troll fishery. It did so even though closing that fishery

would have certainly spawned disaster for Southeast Alaska’s economy and way of

life while providing no meaningful benefit to the endangered whales. And it did so

even though, by 2023 (when the district court entered its remedy order), the flaws




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the district court found with the Biological Opinion had already been substantially

remedied.

      This Court stayed the district court’s vacatur order because a flawed

Incidental Take Statement need not be vacated upon remand and instead “may be

left in place when equity demands.” 2-ER-47–51. This Court found that the

defendants and intervenors had shown “a sufficient likelihood” that “the certain

and substantial impacts of the district court’s vacatur on the Alaska salmon fishing

industry outweigh the speculative environmental threats posed by remanding

without vacatur.” 2-ER-50. This Court was right. For the same reasons it granted

the stay, this Court should now reverse the district court’s vacatur order.

      This is not a typical environmental law case. Environmental conservation

organizations; local, tribal, and federal governments; and Congressional leaders

have banded together to keep the Southeast Alaska fishery open. See

Congressional Delegation and Tribal Coalition amici briefs and attachments

thereto, ECF Nos. 22 & 42. SalmonState, an organization whose goal is ensuring

access to sustainable wild salmon, said it best: the Conservancy’s litigation is

“misguided [and] irresponsible,” an “abuse of the Endangered Species Act,” and

“in all probability won’t save a single endangered killer whale, but will ruin the

livelihoods of thousands of Alaska’s most committed, long-term conservationists




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and wild salmon allies.” 1 See also Appx. to Cong’l Del. Amici Br. at 95–96, ECF

No. 22-3 (May 23, 2023 Letter from four conservation groups—SalmonState,

Southeast Alaska Conservation Council, Sitka Conservation Society, and Alaska

Rainforest Defenders—denouncing the Conservancy’s suit).

                       ISSUES PRESENTED FOR REVIEW

1. Equities: Given the certain devastation that vacatur would have caused

    Southeast Alaska and the speculative environmental benefit of vacatur to the

    whales, did equity demand remand to the agency without vacatur?

2. Seriousness of errors: Given that the prey increase program was no longer

    uncertain and unspecific and that the agency completed Endangered Species

    Act and National Environmental Policy Act analyses for each hatchery within

    the program, were the agency’s errors serious enough to require vacatur?

                           STATEMENT OF THE CASE

    I.      FACTUAL BACKGROUND

         A. Southeast Alaska depends on the Chinook troll fishery.

         Troll fishing for Chinook salmon is critical to Southeast Alaska’s economy,

local governments, and culture. Trollers fish by hook and line, handling each


1
       SalmonState condemns Wild Fish Conservancy’s fatally flawed approach to
environmentalism and judge’s decision on Alaska’s troll fishery, SalmonState.org
(last visited September 25, 2023), https://salmonstate.org/press-
releases/salmonstate-condemns-wild-fish-conservancys-fatally-flawed-approach-
to-environmentalism-and-judges-decision-on-alaskas-troll-fishery.

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individual fish with care. 8-ER-1807. Trollers are advocates for sustainable wild

salmon and ally with conservation groups to protect and restore wild salmon.

Appx. to Cong’l Del. Amici Br. at 95–96, ECF No. 22-3 (May 23, 2023 Letter

from four conservation groups in support of trollers). This is because trollers’

livelihoods depend on healthy salmon runs. 3-ER-544–45.

      The Chinook troll fishery is crucial to the broader Southeast Alaska troll

fishery. Depending on the year, Chinook amounts to between one third and one

half of the troll fleet’s “ex vessel” earnings (i.e., how much trollers are paid for

their catch). 2-ER-229. While trollers fish for Coho and chum salmon in addition

to Chinook salmon, troll-caught Chinook fetch by far the highest value per pound.

3-ER-514; see also Exh. to Tribal Amici Br., ECF No. 42-3 at 19 (Dybdahl Decl.

¶7). Chinook also grow much larger than Coho or chum. 3-ER-514; see also Exh.

to Tribal Amici Br., ECF No. 42-3 at 19 (Dybdahl Decl. ¶7). This means that

catching one Chinook could equal the value of catching five Coho. And this

matters because, as discussed above, trollers catch one fish at a time. 8-ER-1807.

For many trollers, not being able to fish for Chinook means it is not economically

viable to troll fish at all. 2-ER-229; see also Exh. to Tribal Amici Br., ECF No. 42-

3, at 13, 19, 27 (Douville, Dybdahl, and Marks Decls.). While this appeal concerns

the district court’s order effectively closing the summer and winter Chinook troll




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seasons, the order implicated the viability of the entire Southeast Alaska troll

fishery as well.

      The total annual economic output of the Chinook commercial troll fleet for

the winter and summer seasons is approximately $29 million. 3-ER-519–21. This

includes how much trollers are paid for their catch (i.e., the “ex vessel” value) plus

wages and the secondary spending that circulates in Southeast Alaska as the

fishermen purchase goods and services, which keeps the local communities afloat.

3-ER-517–19. The average annual “ex-vessel” value of the Chinook troll fishery

for the summer and winter seasons is about $10.4 million. 3-ER-518, 521.

      The troll fishery supports jobs for over one thousand people. 3-ER-519–20;

2-ER-228–29; Appx. to Cong’l Del. Amici Br., Dkt. 22-3 at 52 (2023 Alaska

Legislature Resolution). As for direct employment, over 1,000 people hold active

troll fishing permits in Southeast Alaska. 3-ER-517. Additionally, many trollers

employ deckhands. 3-ER-519; see also Exh. to Tribal Amici Br., ECF No. 42-3, at

34 (Peterson Decl.).

      Fish processing plants—which contribute significantly to Alaska’s

economy—also rely on the troll fishery. 3-ER-519. Even more so during the

winter, when the troll fishery provides the only source of fish. 2-ER-231.

      The State of Alaska and local governments rely on trollers for much-needed

tax revenue. This includes corporate income taxes and motor oil tax for the State,


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and municipal taxes for local governments. 2-ER-231. It also includes fish landing

taxes. 2-ER-231. Half of those landing taxes goes to the State’s general fund and

the other half goes to the respective municipality or unorganized boroughs where

the landing occurs, which, in turn, pays for schools, utilities, harbor maintenance,

and other needed services. 2-ER-231.

      Troll fishing supports small Southeast Alaska communities where the fishery

is the economy, as well as larger communities where the fishery is a significant

contributor to the economy. For small towns like Pelican, about a third of its

population participates directly in the troll fishery. 3-ER-524. The fishery further

supports the local economy because trollers pay moorage, buy ice, refuel, and visit

the local café. 3-ER-524. Community members work at the local processing plant,

which operates to process the trollers’ catch. 3-ER-524–25. And raw fish taxes

account for ten percent of the town’s entire annual local revenue, which pays for

education, water, wastewater, electricity, snowplowing, trash, and boardwalk

repairs. 3-ER-524.

      Troll fishing is also critical to larger towns like Sitka. Although only seven

percent of the households there are associated with troll permits, the troll fishery

nonetheless brings in over eight million “ex-vessel” dollars per year, a huge

number for a town with only 8,000 residents. 2-ER-230–32. This “ex vessel” value

does not account for the additional benefit created by secondary spending as


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fishermen purchase goods and services throughout the local community. 3-ER-

519–20. And it does not account for the fish landing taxes, which support

community infrastructure and basic services. 3-ER-519; 2-ER-230–31.

      Troll fishing is a “way of life,” passed down from one generation to the next.

8-ER-1812–13; 3-ER-543–47. It not only allows individuals to pay bills, but it is

also critical for communities’ “spiritual and physical wellbeing.” 3-ER-547.

      This cultural importance is especially significant for many Alaska Natives,

including Tlingit and Haida people who have lived in Southeast Alaska since time

immemorial, and Tsimshian people who migrated to the Annette Islands in the

1800s. Tribal Amici Br. and Exh., ECF Nos. 42-2, 42-3. These native people

participate in the Southeast Alaska troll fishery and use each season to pass down

intergenerational knowledge. Exh. to Tribal Amici Br., ECF No. 42-3, at 33

(Peterson Decl.). About 600 troll permits are held by members of federally

recognized tribes. Exh. to Tribal Amici Br., ECF No. 42-3, at 34 (Peterson Decl.).

Because troll fishing is one of the few industries that offers well-paying jobs in

remote Southeast Alaska, it enables tribal members to continue living on their

traditional lands and practicing their traditional way of life. Exh. to Tribal Amici

Br., ECF No. 42-3, at 43 (Ware Decl.) Everything costs money: food, clothes, even

fuel and gear to go subsistence fishing.




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      If this Court had not stayed the district court’s vacatur order, the Chinook

troll fishery in Southeast Alaska would have been effectively shut down in 2023.

See 2-ER-49–51. Shutting down that fishery, even for just one season, would have

meant economic, social, and cultural devastation.

      B.   Southern Resident killer whales are listed under the Endangered
           Species Act, as are some stocks of Chinook salmon.

      Southern Resident killer whales (SRKW) are a specific population of killer

whales listed as endangered under the Endangered Species Act (ESA). Endangered

and Threatened Wildlife and Plants: Endangered Status for Southern Resident

Killer Whales, 70 Fed. Reg. 69,903 (Nov. 18, 2005). Their population is at a

historic low, down from a peak of 97 in 1996 and slightly greater than their nadir

of 67 in 1974, when their census began. 5-AR-962–63; 4-ER-607. Their decline

was initially precipitated by their removal for public display in aquaria in the

1970’s. 70 Fed. Reg. at 69,908. Their continued decline has been attributed to

multiple factors including prey availability, toxins in their environment and food,

and vessel noise and vessel traffic that disturbs use of echolocation to forage and

communicate. Id.; 5-ER-968–76. The whales are typically found throughout the

waters off Washington, Oregon, and Vancouver Island. 5-ER-968–76. And they

typically live in inland waters in the summer and coastal waters in the winter. 5-

ER-966–67, 1127. The preferred diet of these whales is mature Chinook salmon,

though they do consume other species of salmon and other species of fish as

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mature Chinook salmon are not present in sufficient numbers year round. 5-ER-

969–70.

      Chinook salmon hatch in freshwater and then migrate to the ocean where

they mature for three to five years before returning to their birth waters to spawn

and die. 5-ER-890. Some Chinook that originate in the Pacific Northwest migrate

far north into the Gulf of Alaska and take advantage of the nutrient rich waters to

feed and grow before returning to spawn in their natal streams. 5-ER-890; 2-ER-

240. Not all mature salmon return to their spawning grounds (and to SRKW

territory). 2-ER-242–43; 8-ER-1775–76

      Before mature Chinook that spend time in the Gulf of Alaska can become

prey for the SRKW, they have to migrate through a gauntlet of other predators and

fisheries, and most don’t make it. 2-ER-242–43; 8-ER-1779–80. Some are

consumed by salmon sharks, pinnipeds, and other resident populations of killer

whales. 2-ER-242–43; 8-ER-1779–80. Some are captured by commercial and

recreational fisheries off the coasts of Southeast Alaska, British Columbia, and

Washington. 2-ER-237, 243; 8-ER-1779–80, 1794–95.

      Four threatened stocks of Chinook2 are relevant to the Alaska fishery

because the fishery incidentally takes a small number of these fish. 4-ER-858; 6-


2
     These are the Lower Columbia River Chinook, the Snake River Fall-run
Chinook, the Upper Willamette River Chinook, and the Puget Sound Chinook. 4-
ER-858.

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ER-1205–06. The Alaska fishery is a mixed-stock fishery, meaning it harvests

various stocks of Chinook—some originate from various areas within Alaska,

some from Northern and Central British Columbia, some from Southern British

Columbia, and some from the Pacific Northwest. 2-ER-241–42. These four listed

stocks originate in the Pacific Northwest. 4-ER-858. The primary causes of decline

for these listed Chinook stocks are loss of habitat, hydropower development, poor

ocean conditions, overfishing, and poor hatchery practices. 5-ER-929, 935–36,

946, 957. Depending on how a hatchery operates, its effect on salmon can be

positive, neutral, or negative. 5-ER-1106–07. NMFS uses hatcheries to preserve

vital genetic resources for severely threatened stocks while other factors limiting

survival and abundance are addressed. 5-ER-1106. Hatchery-produced salmon

provide a “significant component of the salmon prey base returning to the

watersheds within the range of SRKW.” 5-ER-972. Hatchery-produced salmon

also provide a significant component of the Southeast Alaska fishery’s harvest.

2-ER-246.




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    II.      STATUTORY FRAMEWORK

          A. The Magnuson-Stevens Act

          In 1976, in response to foreign competition for fish in the United States’

exclusive economic zone, 3 Congress passed the Magnuson-Stevens Act. 16 U.S.C.

§ 1801, et seq. The Act establishes a national program for the management of

federal fisheries to prevent overfishing; to promote optimal yields of the nation’s

fisheries; and to sustain the economic, employment, and food supply benefits

derived from the nation’s fisheries. 16 U.S.C. § 1801. Under the Act, the National

Marine Fisheries Service (NMFS) implements Fishery Management Plans to

regulate fishing between three and 200 miles from the coast. 16 U.S.C. §§

1853, 1854. States maintain authority to regulate fishing in their territorial waters,

which extend three miles from the coast.4 16 U.S.C. § 1856.

          The Act placed the salmon fishery between three and 200 miles off the coast

of Alaska under federal management. 2-ER-1402, 1407, 1415. Nevertheless, the

early versions of federal Fishery Management Plan adopted most of the State of


3
       Under international law, coastal nations have jurisdiction over resources in
their exclusive economic zone (EEZ), which extends 200 nautical miles from a
nation’s coastline.
4
        While the country’s EEZ extends 200 miles off the coastline, states have
“title to and ownership of” and the “right and power to manage” the natural
resources located within three miles from their coastlines. 43 U.S.C. §§ 1311,
1312. The Magnuson-Stevens Act does not diminish a state’s jurisdiction over
resources in its waters. 16 U.S.C. § 1856.

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Alaska’s harvest restrictions and management measures. 6-ER-1408. And since

1990, NMFS’s Fishery Management Plan has delegated management authority of

commercial troll fishing in federal waters in Southeast Alaska to the State. 6-ER-

1402, 1409. The agency reaffirmed that delegation in 2012. Fisheries of the

Exclusive Economic Zone Off Alaska; Pacific Salmon, 77 Fed. Reg. 75,570

(Dec. 21, 2012); 6-ER-1403.

      The State has been managing its fisheries since statehood. 6-ER-1415;

Alaska Statehood Act, Pub. L. 85-805, § 6(e), 72 Stat. 339, 340–41 (1958). It does

so according to the “sustained yield” principle mandated by its constitution. Alaska

Const. art VIII, § 4. The State manages “wild salmon stocks . . . at levels of

resource productivity that assure sustained yields.” 5 Alaska Admin. Code

39.222(c). The State manages the Southeast Alaska troll fishery in federal waters

(which are subject to the Magnuson-Stevens Act) and state waters (which are not)

as a single unit. 6-ER-1415; 7-ER-1441. Troll fishing for Chinook in winter

(October through April) and spring (May through June) occurs exclusively in state

waters, while the summer season (July through September) extends to federal

waters as well. 7-ER-1441–42.

      The judicial review provisions of the Magnuson-Stevens Act are narrow to

ensure that Fishery Management Plans and amendments to them—such as the

agency’s delegation of management to Alaska—“are effectuated without


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interruption and that challenges are resolved swiftly.” See Turtle Island

Restoration Network v. U.S. Dep’t of Commerce, 438 F.3d 937, 948 (9th Cir.

2006).

      B.    The Pacific Salmon Treaty

      Because salmon are highly migratory and salmon originating in Canada are

intercepted in the United States and vice versa, the two countries signed the Pacific

Salmon Treaty in 1985. 6-ER-1423. The Treaty is based on shared responsibility

for conservation and rational management and provides a bilateral forum for

cooperation and coordination of research, management, and enhancement. 6-ER-

1423. The Treaty’s goals are to prevent overfishing, provide for optimum

production, and afford equitable benefit to each party from the production of

salmon originating in its waters. 6-ER-1417, 1423. The parties renegotiate the

fishing regimes every ten years to update conservation goals and harvest sharing

arrangements. 5-ER-880–81.

      Harvest limits and harvest exploitation rates are set by complex Treaty

negotiations. 7-ER-1618–8-ER-1765. In addition to bilateral international

agreement, changes to Treaty harvest regimes also require intranational agreement

(i.e., consensus among the U.S. Commissioners, one of whom represents Alaska).

Pacific Salmon Treaty Act, Pub. L. 99-5, §3(a),(g), 99 Stat. 7 (1985). Most Treaty

fisheries are managed as Individual Stock-Based Management fisheries based on


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exploitation rate impacts on specific constituent stocks, and have flexibility to

increase or decrease their harvest depending on in-season abundance levels of

those particular stocks. 8-ER-1794–95; 5-ER-895. The other three fisheries,

including the Southeast Alaska fishery, are Aggregate Abundance-Based

Management fisheries, and are managed to catch limits set before the season opens

and only have flexibility to decrease their harvest depending on in-season

abundance levels, but cannot exceed their catch limit. 8-ER-1794; 5-ER-891–92.

According to Treaty negotiations, the catch limit for the entire Southeast Alaska

fishery (not just the trollers) is set annually based on data from the early winter

troll fishery. 7-ER-1676; 5-ER-892.

      In the most recent Treaty negotiation, and in response to concerns for some

Chinook stocks and SRKW, the parties reduced harvest limits for Aggregate

Abundance-Based Management fisheries. 5-ER-887–88; 6-ER-1191. Alaska

agreed to reduce its harvests of Chinook by up to 7.5%, and Canada agreed to

reduce its harvest by 12.5%. 5-ER-895; 6-ER-1191. Other fisheries, notably those

along the coasts of Southern British Columbia, Washington and Oregon—which

operate in the waters SRKW inhabit—were largely left untouched by the Treaty.

See 5-ER-1036–37; 3-ER-414, 442. The harvest limit reductions are the product of

complex, multi-issue, multi-party political negotiation rather than a reflection of

any fishery’s proportional impact on the endangered whales.


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      C. The Endangered Species Act

      The Endangered Species Act (ESA) requires federal agencies to ensure that

any action they fund, authorize, or carry out is “not likely to jeopardize the

continued existence of any endangered species or threatened species” or destroy or

adversely modify their critical habitat. 16 U.S.C. § 1536(a)(2). If an agency action

is “likely to adversely affect” any listed marine or anadromous species or their

designated critical habitat, NMFS must issue a Biological Opinion (BiOp).

50 C.F.R. § 402.14. A BiOp analyzes whether the proposed action is likely not just

to affect a species, but whether it is likely to jeopardize the continued existence of

the species or result in the destruction or adverse modification of critical habitat.

Id. If the agency determines that the proposed action will not have these

jeopardizing effects, and that any incidental “taking” of the listed species will not

jeopardize the species or destroy its critical habitat, the agency issues an Incidental

Take Statement (ITS). 16 U.S.C. § 1536(b)(4). The statutory term “take” means “to

harass, harm, pursue, hunt, shoot, wound, kill, trap, capture, or collect, or to

attempt to engage in any such conduct.” 16 U.S.C. § 1532(19). The regulatory

definition of “harm” includes degrading habitat to such a degree that it “actually

kills or injures” wildlife “by significantly impairing essential behavioral patterns,

including, breeding, spawning, [. . . or] feeding.” 50 C.F.R. § 222.102. Any take

that complies with an ITS is shielded from liability under the ESA. 16 U.S.C. §


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1536(o)(2). If a person knowingly “takes” a listed species without an ITS in place,

the person is subject to criminal and civil penalties, and may be liable for litigation

costs in citizen suits. 16 U.S.C. §§ 1540(a), 1540(b), 1540(g)(4).

      D. The National Environmental Policy Act

      The National Environmental Policy Act (NEPA) is a procedural statute that

requires federal agencies to evaluate the environmental consequences of proposed

major federal actions that significantly affect the quality of the human

environment. 42 U.S.C. § 4332(C). NEPA serves the dual purpose of informing

agencies of the environmental effects of proposed federal actions and making

relevant information available to the public. Robertson v. Methow Valley Citizens

Council, 490 U.S. 332, 349 (1989). Whether an agency prepares no NEPA

analysis, a brief Environmental Assessment, or a more robust Environmental

Impact Statement depends on whether it is taking a major federal action, whether

the action is categorically exempt from NEPA, whether the significance of its

impacts are unknown, and whether or not the action is found to have a significant

environmental impact. See 40 C.F.R., Part 1501. The agency determines which

category of NEPA assessment it conducts. See id.

      E.   The Administrative Procedure Act

      The Administrative Procedure Act (APA) affords judicial review to persons

aggrieved by certain federal actions. 5 U.S.C. § 702. Because neither the ESA nor


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NEPA supply a separate standard of review, the APA provides the legal framework

for reviewing claims under those Acts, meaning courts analyze ESA and NEPA

claims by considering whether the agency action was “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.” San Luis & Delta-

Mendota Water Auth. v. Jewell, 747 F.3d 581, 601 (9th Cir. 2014).

   III.     PROCEEDINGS BELOW

      A. NMFS’s 2019 Biological Opinion shielded the Southeast Alaska
         salmon fishery from ESA liability.

      In 2019, NMFS issued a Biological Opinion (2019 BiOp) considering the

combined effects on ESA-listed species from the following federal actions: (1) the

agency’s ongoing delegation of salmon fisheries management in Southeast Alaska

to the State, (2) federal funding to the State to manage the fisheries and meet the

obligations under the Pacific Salmon Treaty, and (3) a conservation program for

habitat improvement and hatchery production to benefit both critical stocks of

Puget Sound Chinook salmon and SRKW. 5-ER-884–90.

      Although the conservation program is described in the 2019 BiOp, which

otherwise focuses on the Southeast Alaska fishery, the program is intended to

offset impacts to the endangered whales and ESA-listed Puget Sound Chinook

from all fisheries under the Pacific Salmon Treaty, not just the Alaska fishery.

5-ER-888–90; 6-ER-1193; 3-ER-324–25.




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      The conservation program has three components. 5-ER-888. The first two

components aim to aid ESA-listed Puget Sound Chinook by continuing hatchery

programs to conserve genetics for at-risk stocks and implementing habitat

restoration programs. 5-ER-888. Puget Sound Chinook are one of the four stocks

of Chinook relevant to Alaska’s fishery because, as stated above, Alaska

incidentally takes some of those fish. 5-ER-1014–21; 6-ER-1281–94. But in terms

of quantity, the Alaska fishery takes very few Puget Sound salmon because these

stocks have local migratory pattern and only occasionally stray as far as Alaska.

5-ER-890, 1014–21; 2-ER-243–44. These two components are mainly meant to

mitigate for Canadian and Pacific Northwest fisheries’ large impact on Puget

Sound Chinook and habitat degradation in the Pacific Northwest. 2-ER-243–44; 5-

ER-888–90, 1031, 1105. By increasing Puget Sound Chinook abundance, these

two components of the conservation program would incidentally bolster prey

availability for the endangered whales over the long term. 5-ER-888.

      The third component of the conservation program is a hatchery initiative

designed to increase Chinook availability specifically for SRKW. 5-ER-888–89.

The 2019 BiOp explains how reduced prey availability “may cause [SRKW] to

spend more time foraging than when prey is plentiful and increase the risk of poor

body condition and nutritional stress.” 6-ER-1194. The prey increase program




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intends to increase prey availability to the endangered whales by 4 to 5 percent at a

cost of $5.6 million annually. 5-ER-889; 6-ER-1194.

      The 2019 BiOp analyzed whether, given these mitigation measures, the

Southeast Alaska fishery was likely to jeopardize the endangered whales. The

BiOp found that the entire fishery (i.e., sport, commercial seine and gillnet,

subsistence, and troll) has historically reduced SRKW prey availability in inland

waters from July through September by 0.1% to 2.5%, and in coastal waters from

October through April by only 0.2 to 1.1%. 5-ER-1126–27; 6-ER-1192, 1194. The

BiOp also reported historical data for the converse times and places: coastal waters

in the summer and inland waters in the winter. 5-ER-1126–27. If time of year is

taken out of the analysis, the BiOp calculates that the Southeast Alaska fishery

reduces SRKW prey availability in coastal waters by an average of 5% and in

inland waters by an average of 1%. 5-ER-1125. But the time and place breakdown

of the fishery’s impact on prey availability is relevant because the endangered

whales typically live in inland waters in the summer and coastal waters in the

winter. 5-ER-966–867; 6-ER-1191–92.

      NMFS concluded that continued operation of the Southeast Alaska fishery,

consistent with the Treaty-established limits and 2019 BiOp approved mitigation

measures, was not likely to jeopardize the SRKW or the four relevant listed

Chinook stock or adversely modify their critical habitat. 6-ER-1172–95. The BiOp


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thus included an ITS for any incidental take of SRKW and the four ESA-listed

Chinook consistent with the Treaty’s limits. 6-ER-1205–06.

      B.   In 2020, the Wild Fish Conservancy sued NMFS.

      In 2020, the Wild Fish Conservancy sued NMFS, alleging NEPA, ESA, and

APA violations. 8-ER-1845–74. The State of Alaska and the Alaska Trollers

Association intervened. 4-ER-821–22; 8-ER-1803–04.

      The parties cross-moved for summary judgment, and the trial court found in

the Conservancy’s favor. 4-ER-612–53.

      First, the court concluded that the agency violated the ESA because its

determination that the endangered whales would not be jeopardized relied on a

mitigation program (the prey increase program) that was not yet fully funded and

not yet site-specific. 4-ER-612–13, 638–47. Agencies may rely on mitigation

measures in making no jeopardy determinations, but the mitigation must “describe,

in detail, the action agency’s plan” and be “reasonably certain to occur.” Ctr. for

Biological Diversity v. Bernhardt, 982 F.3d 723, 743 (9th Cir. 2020).

      Second, the court concluded that the 2019 BiOp was flawed because it did

not consider how the new prey increase program would affect threatened Chinook

stocks. 4-ER-612–13, 644–47. The court did not find any flaw in the BiOp’s

consideration of how the Southeast Alaska fishery itself impacts those stocks. See

generally 4-ER-612–53. Rather, the flaw the district court found was the agency’s


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failure to analyze how the prey increase program might impact those stocks. 4-ER-

612–13, 645–46.

      Third, the court found that the agency’s ITS should have triggered NEPA

review. 4-ER-612–13, 647–50.

      Finally, the court concluded that the prey increase program should have

triggered NEPA review. 4-ER-612–13, 650–51.

      C. In 2023, the district court vacated part of the 2019 BiOp, effectively
         enjoining the Southeast Alaska troll fishery.

      The parties then briefed the appropriate remedy for these ESA and NEPA

violations. 8-ER-1933. Because the Magnuson-Stevens Act barred directly

enjoining NMFS from delegating fishery management to the State—one of the

actions analyzed in the BiOp—the Conservancy instead sought to vacate the

BiOp’s ITS, which indirectly enjoined Alaska’s fishery. 7-ER-1587, 1604; 4-ER-

823; 8-ER-1933.

      Vacating the ITS effectively enjoined Alaska’s fishery because the ITS

shields Alaska and trollers from ESA liability. 16 U.S.C. § 1536(o)(2). The ESA

makes people civilly and criminally liable for knowingly “taking” a listed species

without an ITS in place and subjects defendants to litigation costs. 16 U.S.C.

§ 1540. The ITS is critical for Alaska’s fishery because it covers incidental take of

the four relevant ESA-listed salmon—not just SRKW—and Alaska’s trollers do

incidentally take some ESA-listed salmon, albeit in limited numbers. 6-ER-1205.

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Given the exceedingly expensive litigation costs, civil fines, and criminal penalties

for each take, fishing is effectively enjoined if there is no ITS in place for ESA-

listed salmon. 16 U.S.C. § 1540(a) (civil penalties), § 1540(b) (criminal

violations), § 1540(g)(4) (fee shifting costs for citizen suits). 5

       In addition to asking the district court to vacate the ITS, the Conservancy

also sought to enjoin the prey increase program, arguing that increased hatchery

production would harm wild ESA-listed salmon. 1-ER-30.

       The district court granted the Conservancy’s request to vacate the ITS as

applied to the summer and winter Chinook troll fishery. 1-ER-5, 44–45. The court

asserted that there was a “presumption” that vacatur was the proper remedy, that

courts deviate from vacatur in “rare” circumstances, and that the defendants did not

overcome the presumption. 1-ER-4, 19, 29, 35.




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        Vacating the ITS for SRKW does not have quite the same injunctive effect.
This is because it is questionable whether the Southeast Alaska fishery’s minimal
impact on prey availability is significant enough to constitute a “take” of SRKW
under the ESA. See Pyramid Lake Paiute Tribe of Indians v. U.S. Dep’t of Navy,
898 F.2d 1410, 1419–20 (9th Cir. 1990) (finding no “take” where evidence of any
one year’s water diversion did not actually cause the listed fish’s spawning
problems, especially given that other water users were also diverting water).
NMFS appears to have included an ITS for the whales in the 2019 BiOp in an
excess of caution to account for years of low salmon abundance and because
NMFS lacked “data needed to establish quantitative relationship between prey
availability” and “effects to SRKW.” 6-ER-1206. The 2023–2024 fishing season is
not projected to be a year of low Chinook abundance. 2-ER-60–61. Nevertheless,
the litigation risks could still make fishing without an ITS for SRKW untenable.

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      The district court denied the Conservancy’s request to enjoin the prey

increase program. 1-ER-4, 35–38.

      The State filed in the district court a motion to stay vacatur of the ITS

pending appeal, which the Alaska Trollers Association joined, and which the

federal defendants supported. 8-ER-1936. The Conservancy cross-moved for an

injunction pending appeal of the prey increase program. 8-ER-1936. The district

court denied both motions. 8-ER-1937.

      The parties then asked this Court for the same relief. State’s Motion to Stay,

ECF No. 15; Conservancy’s Cross-Motion for Injunction, ECF No. 19; ATA’s

Joinder to Motion to Stay, ECF No. 20; Fed’l Response Supporting Motion to

Stay, ECF No. 21. The Alaska Congressional Delegation filed an amici brief

supporting the State’s requested stay, which included letters and resolutions from

dozens of remote Southeast Alaska communities, tribes, and tribal organizations,

discussing how important the Chinook troll fishery was to their communities and

how disastrous its closure would be. Cong’l Amici Br., ECF No. 22. A coalition of

Alaska tribes and tribal organizations also submitted an amici brief outlining the

devastating and disproportionate impact the closure would have on indigenous

communities of Southeast Alaska. Tribal Amici Br., ECF No. 42.

      This Court stayed the district court’s vacatur order, recognizing that a flawed

agency action “need not be vacated upon remand and instead may be left in place


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when equity demands.” 2-ER-50. It concluded that “the moving parties have

established a sufficient likelihood of demonstrating on appeal that the certain and

substantial impacts of the district court’s vacatur on the Alaska salmon fishing

industry outweigh the speculative environmental threats posed by remanding

without vacatur.” 2-ER-50. This Court denied the Conservancy’s motion to enjoin

the prey increase program pending appeal. 2-ER-50–51.

                       SUMMARY OF THE ARGUMENT

      The district court abused its discretion in effectively enjoining the Southeast

Alaska Chinook troll fishery by vacating the fishery’s Incidental Take Statement.

      First, the district court erred in putting a thumb on the scale of vacatur.

When vacatur has the effect of an injunction, there can be no presumption of

vacatur. Rather, the equities control.

      Second, the district court erred in balancing the equities. Equity demanded

remand without vacatur. The certain and substantial impacts of the district court’s

vacatur on the Alaska salmon fishing industry outweighed the speculative

environmental threats posed by remanding without vacatur. The district court erred

in undervaluing the cascading harms to Southeast Alaska from closing the fishery

during remand. And the district court erred in finding that closing the fishery on

remand would meaningfully benefit the endangered whales. The district court

further erred in choosing a remedy that undermines international negotiations and


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that conflicts with the purpose of the prey increase program. Congress funds the

prey increase program to ensure both that the endangered whales get more prey

and that the Alaska fishery (as well as other fisheries in the Pacific Northwest) can

continue to operate.

      Third, the district court erred because the agency is likely to issue the same

ITS on remand, meaning that vacatur will be too short-lived to justify its

destabilizing effects. By 2023, when the district court entered its vacatur order, the

flaws the court had found in the 2019 BiOp had been substantially remedied. The

court erred in ignoring this, and instead focusing on the errors in 2019. And despite

the Conservancy’s desire that NMFS, on remand, contravene international

negotiations and lower Alaska’s harvest levels in a BiOp, NMFS has neither the

authority nor reason to do so. NMFS is likely to issue the same ITS on remand.

Vacating the ITS in the meantime would have devastated Southeast Alaska while

providing no meaningful benefit to the endangered whales.

                            STANDARD OF REVIEW

      This Court reviews a district court’s decision to remand without vacatur for

abuse of discretion. Pit River Tribe v. U.S. Forest Serv., 615 F.3d 1069, 1080

(9th Cir. 2010). A district court abuses its discretion when its ruling is based on an

erroneous view of the law or on a clearly erroneous findings of fact. Highmark Inc.

v. Allcare Health Mgmt. Sys., Inc., 572 U.S. 559, 564, n.2 (2014). Even when there


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is no error of law or fact, a district court also abuses its discretion when this Court

is “convinced firmly that the reviewed decision lies beyond the pale of reasonable

justification under the circumstances.” Est. of Diaz v. City of Anaheim, 840 F.3d

592, 601 (9th Cir. 2016).

                                    ARGUMENT

   I.      Courts consider two factors when deciding whether to vacate an
           unlawful agency action and put no thumb on the scale of vacatur.

        This Court instructs that a two-factor test applies when determining whether

an agency action should remain in effect on remand. Ctr. for Food Safety v. Regan,

56 F.4th 648, 663 (9th Cir. 2022) (discussing Ninth Circuit’s adoption of D.C.

Circuit’s test in Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146,

150–51 (D.C. Cir. 1993)). The test weighs the “seriousness of the agency’s errors

against the ‘disruptive consequences of an interim change that may itself be

changed.’” Regan, 56 F.4th at 663 (quoting Allied-Signal). One factor in this

analysis—the “disruptive consequences” factor—gets at the equities. Id. at 668.

Even when errors are substantive, the equities may nonetheless warrant remand

without vacatur. Cal. Cmtys. Against Toxics v. E.P.A., 688 F.3d 989, 993–94

(9th Cir. 2012). The other factor gets at whether the agency will likely institute the

same rule on remand. Regan, 56 F.4th at 663–67. Both factors weighed in favor of

remand without vacatur here, and the district court erred in concluding otherwise.




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      The district court also erred in constraining its decision because of a

“presumption” of vacatur. 1-ER-4, 35. Although this Court has, on occasion,

referred to vacatur as a “presumptive” remedy for APA violations, in practice, this

Court refuses to reflexively apply any such presumption. 350 Montana v. Haaland,

50 F.4th 1254, 1259, 1273 (9th Cir. 2022) (refusing to automatically vacate

decision because there was “dearth of evidence concerning the impact of

vacatur”).6 “A federal court is not required to set aside every unlawful agency

action, and the decision to grant or deny injunctive or declaratory relief under APA

is controlled by principles of equity.” All. for the Wild Rockies v. United States

Forest Serv., 907 F.3d 1105, 1121 (9th Cir. 2018) (internal quotation marks

omitted); see also Regan, 56 F.4th at 663. The district court erred by feeling

compelled by a “presumption” of vacatur. 1-ER-4, 35.

      Moreover, when vacatur has the practical effect of an injunction, like it does

here, a court cannot rightly put a thumb on the scale favoring such relief. See

Monsanto Co. v. Geerston Seed Farms, 561 U.S. 139, 156–58 (2010) (no

presumption of injunctive relief for NEPA violation). This is not a case where the

district court was deciding whether to vacate a new agency rule with novel


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      In fact, whether § 706’s “hold unlawful and set aside” language even means
“vacate” is subject to current debate. See United States v. Texas, 143 S. Ct. 1964,
1981–85 (2023) (Gorsuch, J., concurring) (opining that the APA’s phrase “set
aside” is not tantamount to “vacate” and that ordinary remedies apply under the
APA instead).

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prospective effect—the district court was deciding whether to effectively enjoin

local fishermen who have been troll fishing their entire lives. The district court

erred in applying a presumption favoring such drastic injunctive relief. 1-ER-4, 35.

   II.      The equities warranted remand without vacatur.

         This Court “leave[s] invalid agency action in place when equity [so]

demands.” Regan, 56 F.4th at 663 (internal quotation marks omitted). Equity so

demanded here. Shutting down Southeast Alaska’s Chinook troll fishery would do

little for endangered whales while causing catastrophic and irreparable harm to

Southeast Alaska. The district court erred in undervaluing the cascading harms to

Southeast Alaska from closing the fishery. 1-ER-4, 35. It erred in finding that

shutting down Alaska’s fishery would provide meaningful benefit to the SRKW. 1-

ER-4, 34. And it erred in concluding that any benefit to the whale—no matter how

small or speculative—outweighed the concrete, severe, and devastating harm to

Southeast Alaska communities. 1-ER-4, 34–35.

         A. Shutting down Southeast Alaska’s Chinook troll fishery is a certain
            death knell to rural Southeast Alaska communities.

         The record before the district court established that halting the Southeast

Alaska Chinook troll fishery for even just a single season would create both

immediate and long-lasting economic, social, and cultural harms. The district court

erred in discounting this largely undisputed evidence.




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      The economic output of the Chinook summer and winter troll fishery is

huge—about $29 million each year. 3-ER-519–21. The effects of shuttering it

would be felt most acutely in smaller, remote communities, where the troll fishery

is the primary industry and where secondary businesses have sprung up to support

that fishery. 2-ER-230; 3-ER-523–25. The effects would also be felt in larger

towns like Sitka, where just the “ex vessel” value of the fishery brings in millions

of dollars. 2-ER-230.

      Enjoining the troll fishery hurts more than just the fishermen because money

generated from the fishery circulates throughout local communities through

secondary spending. 3-ER-519–20. When trollers do not fish, the impacts cascade

throughout the supply chain: they do not stop at stores to buy ice; purchase fuel at

the dock; buy gear from local merchants; or sell their fish to local businesses who

then smoke and sell it. 3-ER-519–21; see also Exh. to Tribal Amici Br., ECF No.

42-3, at 5 (Cook Sr. Decl.). The loss of the troll fishery would mean the loss of

these secondary transactions.

      It would also harm other secondary businesses such as fish processing

plants. 3-ER-519. Because about a third of the value added in seafood processing is

the cost of labor, decreasing the quantity of fish processed significantly decreases

the need for (and wages to) laborers. 3-ER-519. If the winter fishery is closed,




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processing plants could be forced to close too because the troll fishery is their only

source of fish at that time. 2-ER-231.

      Enjoining the fishery would harm the state and local governments by

decreasing much-needed revenue from municipal taxes, corporate income taxes,

motor oil taxes, and fish landing taxes. 3-ER-519; 2-ER-229, 231.

      Shutting down the summer and winter seasons would reduce trollers’

livelihoods by more than a third of the troll fleet’s earnings. 2-ER-229. This might

make it financially infeasible to troll fish at all. 2-ER-229; see also Exh. to Tribal

Amici Br., ECF No. 42-3, at 19, 27 (Dybdahl & Marks Decls.). This is significant

for more than 1,000 people who hold active troll fishing permits, and for the

people who work for them. 3-ER-517, 519; see also Exh. to Tribal Amici Br.,

ECF No. 42-3, at 34 (Peterson Decl.).

      Trollers cannot simply retrofit their boats for another fishery—Alaska’s

fishing is highly specialized and regulated, and investing in new gear and permits

costs hundreds of thousands of dollars. 2-ER-232.

      Nor can trollers just find other jobs. 2-ER-230. Troll fishing “is one of the

few industries that offers well-paying jobs in remote Southeast Alaska.” Tribal

Amici Br., ECF No. 42-2, at 13. Shutting down the Chinook troll fishery would

force families to choose between living without enough work or moving to find

work. 2-ER-230. If families move, this could deprive remote communities of


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enough school-age children to support their schools, leading to local school

closures. 2-ER-230. And for tribal members, moving would mean leaving their

traditional lands and their traditional way of life. Tribal Amici Br., ECF No. 42-2,

at 13.

         Vacatur would severely and irreparably harm the “way of life” for Southeast

Alaska communities. 8-ER-1812–13; 3-ER-543–47; 2-ER-228–29. In vacating the

ITS, the district court completely ignored the cultural and social harms of closing

the fishery. See 1-ER-4–45. At oral argument, the magistrate judge doubted that

those uncontested harms fit into its analysis. 2-ER-198–99. And neither the

magistrate nor the district court mentioned the cultural and social harms in its

orders. See 1-ER-4–45. Yet those impacts are relevant to the equities, so the court

erred as a matter of law in ignoring them. See United States v. Washington,

853 F.3d 946, 961, 977 (9th Cir. 2017) (affirming that equitable considerations

include “cultural and social harm” to communities “in addition to the economic

harm”). The Alaska Trollers Association discussed these harms at length. See, e.g.,

2-ER-198–99 (oral argument citing to numerous declarations about such harms).

And tribes and tribal organizations that would be significantly affected by vacatur

of the ITS but that were not joined in this lawsuit, expounded on those cultural

harms before this Court. Tribal Amici Br., ECF No. 42-2.




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      Even setting aside the social and cultural harms, the district court erred in

concluding that the economic harms by themselves did not sufficiently weigh

against vacatur. In comparable cases, when so many people’s livelihoods are on

the line, this Court has concluded that vacating an agency decision is unwarranted.

See, e.g., Regan, 56 F.4th at 668 (concluding that vacatur was unwarranted due, in

part, to the disruption to the agricultural industry vacatur would cause); Nat’l

Family Farm Coalition v. EPA, 966 F.3d 893, 929–30 (9th Cir. 2020) (remanding

without vacatur because vacating approval of a pesticide that had been registered

for five years could cause serious disruption to farmers); Cal. Cmtys. Against

Toxics, 688 F.3d at 993–95 (concluding that vacatur was not warranted because,

among other reasons, closing the power plant would “be economically disastrous”

to a billion-dollar venture employing 350 workers). Likewise here, shutting down

the Southeast Alaska Chinook troll fishery—even for just one season—would

mean certain economic devastation. These undisputed facts weigh heavily against

vacatur and the district court erred in undervaluing them.

      B.   Shutting down Southeast Alaska’s Chinook troll fishery would
           provide no meaningful benefit to the SRKW.

      In contrast to the definite and lasting harm to Southeast Alaska, the benefits

to SRKW from closing the fishery while NMFS reissues an ITS are speculative

and, at best, minor. 2-ER-303–04. The district court did not make a finding

regarding how much prey would ultimately reach the endangered whales if the

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fishery were closed. See generally 2-ER-4–45. Instead, it acknowledged the

“uncertainty as to how much prey would ultimately reach the SRKW.” 1-ER, 4, 34.

It erred in finding that “under any scenario” “closure of the fisheries [would]

meaningfully improve[] prey availability to the SRKW, as well as SRKW

population stability and growth.” 1-ER-4, 34. Because the record does not support

the finding that shuttering Alaska’s fishery would provide meaningful

improvement to the endangered whales, the court’s finding is clear error.

      The BiOp’s analysis estimates that the increase in SRKW prey would be

exceedingly small (less than 0.5% average in winter and less than 1.8% in summer

in places where the whales typically are present during those times). 2-ER-304; 5-

ER-1126–27; 6-ER-1192. And no one, not even the Conservancy’s expert, opined

that an increase of less than 2% prey availability while the BiOp is reissued would

be “meaningful.” See 4-ER-609–10 (Third Lacy Decl.)

      The district court’s finding of “meaningful” benefit to the SRKW rests on

numerous flaws:

      First, the district court appeared to credit the Conservancy’s faulty graphic

analysis. 1-ER-4, 34 (Report & Recommendation citing ¶11 of Lacy’s Third

Declaration to support finding that closing the fishery would be “meaningful”).

The Conservancy’s graph modeled what would happen assuming the entire

Southeast Alaska fishery reduced prey availability for SRKW by 3%, 6%, 9%, or


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12%, and chose 6% as “an approximate middle value” of a historical range of data

from the 2019 BiOp. 4-ER-608–10. One problem with this graph is the assumed

input numbers. Bad input assumptions lead to meaningless predictions. And the

Conservancy’s graph used unsupportable input numbers. Six percent is neither the

mean nor the median of the range of historical estimates of prey reduction caused

by the Alaska fishery. 2-ER-242; 5-ER-1126–27 (2019 BiOp’s table of estimated

historical impact).

      The Conservancy’s range is skewed too. By assuming that the Alaska

fishery reduces prey availability by 3 to 12%, the Conservancy appeared to use

data only from coastal waters during the summer. Compare 4-ER-610 (Lacy Third

Decl.), with 5-ER-1126–27 (2019 BiOp’s table of estimated historical impact). The

historical impact of the entirety of Alaska’s fishery on SRKW prey availability for

all other times and locations is much less, always below 3.5%. 2-ER-242; 5-ER-

1126–27. In fact, the Conservancy’s expert even acknowledged the lower levels of

impact on prey availability during non-summer seasons in coastal waters and

during all seasons in inland waters. 8-ER-1835 (First Lacy Decl.). To that point,

during the winter, when prey is less available and when increases or reductions of

prey therefore matter most, Alaska reduces prey availability by a mere percentage

of a single percent. 5-ER-970, 1032, 1126–27; 3-ER-340, 357. But in graphing

Alaska’s impact, the Conservancy ignored those numbers showing the fishery’s


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historical low impact because those numbers didn’t fit its narrative, and instead

used only the highest numbers it could find. 4-ER-610 (Third Lacy Decl.).

      The Conservancy (and the district court) also failed to account for the

whales’ migration patterns. See generally 4-ER-605–11; 1-ER-4–45. As the BiOp

explains, the whales generally live in inland waters in the summer and coastal

waters in the winter. 5-ER-966–67; 6-ER-1191–92. Had the Conservancy picked

numbers fairly representing the time and place where prey and whales intersect, it

would have represented that the entire Southeast Alaska fishery (not just trollers)

reduces prey in inland waters in the summer by approximately 1.8% (with a range

of 1.1 to 2.5%). 2-ER-304; 5-ER-1126–27; 6-ER-1192. And when SRKW move to

coastal waters in the winter, the data from the 2019 BiOp show that the entire

Southeast Alaska fishery reduces SRKW prey availability by only about 0.5%

(with a range of 0.2 to 1.1%). 2-ER-304; 5-ER-1126–27; 6-ER-1192. Because the

vacatur order would have enjoined only part of the fishery (the commercial trollers

in winter and summer), the reduction in increased prey availability expected would

be even less.

      Simply put, the historical data from the 2019 BiOp does not suggest that the

Southeast Alaska Chinook troll fishery reduces prey availability for SRKW by 5%,

and the district court erred in relying on the Conservancy’s graph representing that

it does. 1-ER-4, 34.


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      Second, the district court erred in assuming that increased prey availability

linearly correlates to increased benefits to SRKW—i.e., that more prey availability

equals more population stability. 1-ER-4, 34. As the agency has explained, the

many factors harming the whales act in concert with each other. 2-ER-309. In the

BiOP, NMFS advised against “implicating any particular fishery.” 5-ER-972.

Since the BiOp was issued, the Pacific Fishery Management Council formed a

workgroup to better evaluate the effects of Council-managed fisheries on the

endangered whales and determined that there is no detectable relationship between

Chinook abundance and SRKW demographic rates. 2-ER-303. The sample size of

the SRKW is too small, the relationships are not constant over time, and critically,

“multiple factors, not just prey abundance,” may be impacting the whales. 2-ER-

303. In other words, more prey availability does not mean population stability and

growth. The district court erred in simplistically assuming that it does. 1-ER-4, 34.

      Third, the district court failed to consider that increased prey availability

could just feed other predators rather than help the endangered whales. Using a

historical-data based model to predict how closing the fishery would increase prey

for SRKW overestimates the potential benefit to the endangered whales because

the number of competing predators has grown since the model’s data were

compiled. 2-ER-242–43. As mature Chinook swim back towards their spawning

grounds, they are consumed by many other predators including salmon sharks,


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pinnipeds, Alaska Resident killer whales, and Northern Resident killer whales.

2-ER-242–43. In particular, the population of Northern Resident killer whales is

burgeoning and they have a high degree of dietary overlap with SRKW. 2-ER-

242–43; see also 8-ER-1775–76. In recent studies, when prey abundance has

increased, the Northern Resident killer whales—not the SRKW—have seen

improvement. 2-ER-243. The district court did not address this evidence. See

generally 1-ER-4–45.

      Fourth, the district court ignored the likelihood that an increase of Chinook

abundance from closing the Alaska fishery might be offset by other fisheries

increasing their own harvest in response. See generally 1-ER-4–45. Before

Chinook can reach the SRKW, they are subject to capture by other commercial,

recreational, and subsistence fisheries off the coasts of Southeast Alaska, British

Columbia, and Washington. 2-ER-242–43; 8-ER-1794–95. Rather than allowing

more fish to return to SRKW feeding grounds, the district court decision gives

these other fisheries more opportunity to catch more Chinook. 2-ER-243; 8-ER-

1795.7 The Conservancy’s assumptions and the district court’s findings simply do

not consider that foregone Alaska harvest will “likely lead to improved catches in



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      Only a few fisheries, including Southeast Alaska, have limits set before the
season opens. 5-ER-892; 8-ER-1794–95. The other fisheries adjust their harvests
depending on in-season data—that is, higher fish counts can lead to higher
harvests. 8-ER-1795; see also 5-ER-895–97.

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Canadian and Washington fisheries,” rather than more prey availability for the

SRKW. 2-ER-243. The district court did not restrict any other fisheries, instead

placing the entire burden of conservation on Alaska’s summer and winter Chinook

troll fisheries and leaving other fisheries free to cancel out the potential minor

benefit to the SRKW.

      Fifth, the district court did not assess the meaningfulness of providing what

is only—at best—a short-term increase of prey availability effective only until the

agency reissues a new BiOp. See generally 1-ER-4–45. As discussed below,

NMFS will likely issue the same ITS on remand. See infra Argument Section III.

Even if it were not error to credit the Conservancy’s unsupportable assertion that

continued closure of the Southeast Alaska troll fishery could create 5% more prey

for SRKW and would maintain a “long-term [] population growth rate [of] 0.00%,”

no one, not even the Conservancy, asserts that closing the fishery just until NMFS

reissues an ITS with the same harvest numbers will create a meaningful long-term

benefit to the endangered whales. 4-ER-609 (Third Lacy Decl.) Conversely, even a

single season closure will devastate Southeast Alaska. This situation epitomizes

how vacatur would lead to “disruptive consequences” (devastation to Southeast

Alaska) under an “interim change” (vacatur of the ITS) that would then “itself be

changed” (reissuance of the ITS). Regan, 56 F.4th at 663.




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      For all these reasons, the district court clearly erred in finding that its vacatur

order would meaningfully improve prey availability to SRKW as well as SRKW

population stability and growth. 1-ER-4, 34. The data show that the entire

Southeast Alaska fishery reduces prey availability for the endangered whales by an

average of 0.5% in the winter in coastal waters and 1.8% in the summer in inland

waters (in places when and whales are typically present) and that the trollers’

impact as a part of that fishery is even less. 2-ER-304; 5-ER-1126–27; 6-ER-1192.

The district court erred in relying on the Conservancy’s flawed analysis instead of

taking a critical look at the data.

       C. Shutting down Southeast Alaska’s Chinook troll fishery is not in
          the nation’s interest.

      Congress funds the prey increase program every year with an understanding

that the program will both increase prey abundance for the SRKW and enable the

Southeast Alaska fishery to operate under the terms of the 2019 Treaty

negotiations. 2-ER-137. Congress has thus already weighed the equities and has

spoken. The district court abused its discretion in imposing a remedy that overrides

Congress’s choice.

      The district court also abused its discretion in imposing a remedy that

undermines the United States’ Treaty negotiations with Canada. This is not a

typical ESA case because it involves Congress’s complementary objectives under

the Pacific Salmon Treaty. Enjoining the Alaska fishery would frustrate the

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Treaty’s principle of fairly sharing salmon with Canada. Canadian Individual

Stock-Based Management fisheries have broad latitude under the Treaty to

increase their take of Chinook in response to increased abundance resulting from

Alaska’s foregone harvest. 8-ER-1795; 7-ER-1675. Vacating the ITS might

therefore do little to decrease overall harvest (because Canada can take more)

while also undermining the harvest sharing arrangement that the United States

negotiated in 2019. And vacatur would continue to impact Alaska’s fishery even

once a new BiOp is in place because Alaska’s Treaty harvest limits are—per the

2019 negotiations—set based on fishing data from the previous winter season.

7-ER-1676; 5-ER-892. If the winter fishery is closed, Alaska does not have the

data required to set its Treaty harvest limits for the following year. 7-ER-1676; 5-

ER-892. Instead, Alaska would be subjected to lower harvest levels for all of its

Treaty fisheries the following year, further compromising Congressional intent that

the United States receive its fair share of salmon. 2-ER-1676.

      Given the undisputed harms to Southeast Alaska, the absence of meaningful

benefit to the SRKW, and Congress’s intent to keep the fishery open and fairly

share salmon with Canada, the equities demand remand without vacatur. Regan,

56 F.4th at 663. The equities are determinative here, so this Court need not get to

the second prong of test. See id. at 663-69 (remanding without vacatur despite the

court’s categorizing the errors as “serious” and despite the court’s “serious concern


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that EPA continues to flout the ESA”); Cal. Cmtys. Against Toxics, 688 F.3d at

993–95 (remanding without vacatur based on equities despite “substantive” errors).

But if this Court does consider the “seriousness” of NMFS’s violations, that prong

also weighs in favor of remand without vacatur.

   III.     The agency will likely issue the same ITS on remand, which also
            favors remand without vacatur.

      The other part of the two-factor test considers the seriousness of the

agency’s errors, meaning whether the agency is likely to issue the same decision

on remand. Regan, 56 F.4th at 663–64. An error is not serious when “the agency

would likely be able to offer better reasoning” or when “by complying with

procedural rules, it could adopt the same rule on remand.” Id. Conversely, an error

is serious when “such fundamental flaws in the agency’s decision make it unlikely

that the same rule would be adopted on remand.” Id. To determine whether an

agency would adopt the same rule, courts consider, among other things, whether

the agency has substantially complied with the law. Nat’l Fam. Farm Coal. v. U.S.

Env’t Prot. Agency, 966 F.3d 893, 929 (9th Cir. 2020).

      Here, the district court found no direct flaws in NMFS’s analysis regarding

how the Alaska fishery itself affects SRKW and ESA-listed salmon. See generally

1-ER-4–45. Rather, the district court found indirect flaws in the analysis—it saw

problems with the agency’s approval of the prey increase program, which is meant




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to mitigate against the impact of multiple Treaty fisheries, including Alaska’s.

1-ER-4, 32–33.

      The main flaw the district court found was that the prey increase program

was (in 2019) not yet certain and not yet site-specific, so NMFS should not have

relied on it in issuing an ITS. 1-ER-4, 30–39. But since 2019, the program has

become certain and site-specific. Congress annually funds the prey increase

program., 4-ER-660, 663; 2-ER-ER-255–57, 275; see also 2-ER-99.8 The agency

has made site-specific determinations in choosing hatcheries to produce additional

prey for SRKW. 2-ER-275–77. And the number of smolts (young Chinook)

released annually is meeting the agency’s expectations. 2-ER-275, 285 (more than

11 million smolts released in 2020, nearly 14 million released in 2021, and more

than 19 million released in 2022). Even if the program produced only half the

smolts anticipated in the 2019 BiOp and increased prey by 2 to 2.5% (rather than

4 to 5%), that would still greatly exceed the prey reduction caused by the entire

Southeast Alaska fishery (approximately 0.5% during winter in coastal waters and

1.8% during summer in inland waters). 2-ER-304; see also 2-ER-245–46.

      The main flaw the district court identified—that the prey increase program

was not yet site-specific and not yet certain in 2019—could not justify vacating the



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     It has also fully funded the other conservation programs for Puget Sound
salmon. 2-ER-255–57.

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ITS in 2023, because by 2023, the program was site-specific and certain and had

been fully funded every year. 4-ER-660–61, 663; 2-ER-255–57, 275; see also 2-

ER-99. Yet the district court concluded in 2023 that this flaw was serious enough

to warrant vacatur. 1-ER-4, 32–33. This was legal error. Indeed, the district court

all but acknowledged that the main flaw supporting its vacatur no longer existed by

finding elsewhere in its order that the prey increase program “though previously

uncertain and indefinite in the 2019 SEAK BiOp—has also now been funded and

begun providing prey the past three years.” 1-ER-4, 36.

      As for the other flaws the district court found, they have since been

substantially corrected too. The district court found that the ESA and NEPA

required the agency to assess how the prey increase program would affect ESA-

listed salmon. 1-ER-4, 33. Since then, the agency has done this. The risks to wild

fish from hatcheries is best analyzed at site-specific levels that consider where the

hatchery fish are released. 2-ER-277. In 2019, NMFS had not definitively chosen

which hatcheries it would use to produce more prey for the SRKW. 4-ER-661. But

the agency has since chosen hatcheries for its prey increase program. 4-ER-662–

63; 2-ER-275–77. And NMFS has undergone ESA and NEPA analyses regarding

each site-specific hatchery within the prey increase program, including how those

programs affect ESA-listed salmon, and it has not terminated the program. 4-ER-

661–62 (discussing how agency picks hatchery programs that will not jeopardize


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ESA-listed species); 2-ER-275–76 (discussing agency’s conducting ESA and

NEPA review for using hatcheries to produce more fish). NMFS is using these

analyses, which consider cumulative impacts, as it prepares its programmatic

NEPA analysis and new BiOp, expected to be issued in the fall of 2024. 2-ER-

145–46, 276–77. The agency has thus substantially complied with both the

procedural and substantive aspects of the ESA and NEPA.

      This case is thus similar to National Family Farm Coalition v. U.S.

Environmental Protection Agency, in which the EPA failed to fully consider the

risks of a pesticide to monarch butterflies. 966 F.3d 893, 916–17 (9th Cir. 2020).

There, the EPA considered how a pesticide would affect milkweed near farmers’

fields, but it did not consider how the pesticide would affect milkweed in those

fields. Id. This Court found the error not “serious” in light of the EPA’s full

compliance with the ESA and substantial compliance with another applicable

environmental statute. Id. The agency’s error here is similarly not serious enough

to warrant vacatur.

      Or consider Center for Food Safety v. Regan, in which the EPA repeatedly

“flout[ed]” the ESA’s consultation requirement and violated another environmental

statute’s notice-and-comment provisions when it registered a pesticide. 56 F.4th at

656–64. This Court called the EPA’s violation of the ESA “serious.” Id. at 664.

Despite that appellation, this Court concluded that vacatur was unwarranted


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because the “seriousness” prong of the analysis gets at whether the agency could

“likely adopt the same . . . decision on remand.” Id. at 663. And this Court

concluded it could. Id. at 663–64. This Court relied on the fact that the EPA did not

register the pesticide “in total disregard of its potential harm.” Id. at 664. So too

here. One criterion NMFS uses in deciding which hatcheries to fund for the prey

increase program is that increased production cannot jeopardize the survival and

recovery of ESA-listed salmonids. 2-ER-275–77. And NMFS reviews increased

production under the ESA and NEPA, as applicable. 2-ER-275–76. The agency is

thus not executing the prey increase program “in total disregard of its potential

harm” to ESA-listed salmon. See Regan, 56 F.4th at 664. And because the

problems the district court found with the ITS relate to the prey increase program,

NMFS will likely issue the same ITS on remand.

      The district court committed legal error when it ignored the agency’s

environmental analyses of each hatchery used in the prey increase program and

cursorily concluded that the agency had not demonstrated substantial compliance

with NEPA and the ESA. 1-ER-4, 33. Considering Congress’s actions over the past

four years and the agency’s analyses of site-specific hatchery programs being used

to increase prey for SRKW, NMFS is likely to issue the same ITS on remand,

albeit with “better reasoning.” See Regan, 56 F.4th at 663.




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      The Conservancy speculates that NMFS might change its decision by further

reducing harvest limits below those in the Pacific Salmon Treaty, but NMFS lacks

authority to change the Treaty-established harvest limits via a BiOP. Harvest limits

are set by the terms of the Pacific Salmon Treaty—not by NMFS in a BiOp. 7-ER-

1618–8-ER-1765. Changes to Treaty harvest regimes require consensus among the

U.S. Commissioners, one of whom represents Alaska. Pacific Salmon Treaty Act,

P.L. 99-5, §3(a),(g), 99 Stat. 7 (1985).

      Nor would there be reason for the agency to reduce harvest limits even if

such authority existed. Alaska’s effect on prey availability for the endangered

whales is minor. The BiOp shows that the entire Southeast Alaska fishery (not just

trollers) reduces prey availability for SRKW by an average of 0.5% in coastal

waters in winter and by 1.8% in inland waters in summer. 2-ER-304; 5-ER-1126–

27; 6-ER-1192. The 2019 BiOp also discussed that “the impact of reduced

Chinook salmon harvest on future availability of Chinook salmon to Southern

Residents is not clear and cautioned against overreliance on correlative studies or

implicating any particular fishery.” 5-ER-972. Since then, NMFS has reiterated

that the Conservancy’s asserted “relationship quantifying specific changes in

reproduction or survival metrics from specific Chinook salmon abundances [is]

outdated and not based on the best available science.” 2-ER-302. Plus, Alaska

already took a reduction of up to 7.5% to its Treaty harvest limits to support


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SRKW and ESA-listed Chinook stocks. 5-ER-895; 6-ER-1191. And the prey

increase program is already more than mitigating Alaska’s minor impact on prey

availability. 2-ER-245–46.

      Because the prey increase program is now certain and site-specific and

NMFS has substantially complied with the ESA and NEPA, the flaws the district

court found are not serious enough to justify vacatur. The district court erred in

vacating the ITS only to have the agency reissue it in the fall of 2024 with

irreparable harm to Southeast Alaska (and no real benefit to the endangered

whales) in the meantime.

                                  CONCLUSION

      Alaska requests this Court reverse the district court’s order partially vacating

the ITS.

      Dated: September 29, 2023.

                                       TREG TAYLOR
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                     STATEMENT OF RELATED CASES

      Undersigned counsel is unaware of any cases that are considered related

within the meaning of Circuit Rule 28-2.

            September 29, 2023               /s/ Laura Wolff
                                             Laura Wolff




                     CERTIFICATE OF COMPLIANCE

      I certify that this brief contains 10,927 words, excluding the items exempted

by FRAP 32(f), and thus complies with the word limit of Cir. R. 32-1. The brief’s

type size and typeface comply with FRAP 32(a)(5) and (6).

            September 29, 2023               /s/ Laura Wolff
                                             Laura Wolff




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